             Case 1:21-cr-00035-RC Document 307 Filed 04/24/23 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
        v.                                    :       Criminal No. 21-CR-35 (RC)
                                              :
RONALD COLTON MCABEE,                         :
                                              :
                       Defendant.             :

        GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION TO UNSEAL

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby informs the Court that it does not object to the filing of

defendant Ronald Colton McAbee’s Reply to the Government’s Opposition to the Defendant’s

Motion to Reconsider Detention (“Reply”) 1 as currently redacted on the public docket in this

case.

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              D.C. Bar No. 481052

                                      By:        /s/ Benet J. Kearney
                                              BENET J. KEARNEY
                                              Assistant United States Attorney
                                              NY Bar No. 4774048
                                              1 Saint Andrew’s Plaza
                                              New York, New York 10007
                                              Benet.Kearney@usdoj.gov
                                              (212) 637 2260




1 The Reply was initially not filed on ECF due to technical issues and was instead emailed to
AUSA Kearney on April 7, 2023. AUSA Kearney noted that the Reply included excerpts from
an interview report that had been designated as “highly sensitive” pursuant to the protective order
entered in this case and requested that defense counsel not file those portions publicly. It is the
Government’s understanding that the entire Reply has since been filed under seal.
